AO 91 (Rev 8/01

 

 

United States District Court

SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION

UNITED STATES OF AMERICA

 

 

Vv CRIMINAL COMPLAINT
. United States District Court
Francisco Ramirez PRINCIPAL Southerpriaisiseteey Texas Case Number: —
YOB: 2001 M-19- oF o -M

SEP 23 2019
David J. Bradley, Clerk

(Name and Address of Defendant)
I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about 09/22/2019 in Starr * County, in .

the . Southern District of Texas defendants(s) did,
(Track Statutory Language of Offense)

 

knowing or in reckless disregard of the fact that Oscar Gilberto Ramirez-Melendez a citizen and national of El
Salvador, along with three (3) other undocumented aliens, for a total of four (4), who had entered the United
States in violation of law, did knowingly transport, or move or attempted to transport, by foot, said aliens in
furtherance of such violation of law within the United States, that is, from a location near Roma, Texas to the
point of arrest near Roma, Texas,

in violation of Title 8 United States Code, Section(s) 1324(a)(1)(A)(ii) FELONY
I further state that I am a(n) U.S. Border Patrol Agent and that this complaint is based on the
following facts:

 

On September 22, 2019, Border Patrol Agents responded to sensor activity near Gilberto Garza Street in
Roma, Texas. As the camera operator started scanning the area for illegal activity, he observed several
suspected illegal aliens running North through the brush from the Rio Grande River going towards Gilberto
Garza Street. Camera operator then relayed to the responding agents that the subjects were jumping a fence of
a residence located on Gilberto Garza Street. Camera operator maintained visual of the subjects until the
subjects made it to the rear of the aforementioned residence.

 

 

 

 

SEE ATTACHED
Continued.on the attached sheet and made a part of this complaint: [xlYes |__]No.

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4[2z/j Q 3: 4 p fl Tgnature of Complainant
Carlos A. Sanchez Bordér Patrol Agent

Sworn to before me and subscribed in my presence, Printed Name of Complainant
September 23, 2019 at McAllen, Texas
Date City and State

 

 

J. Scott Hacker , U. S. Magistrate Judge tae—

Name and Title of Judicial Officer Signa Judigfal Officer
Case 7:19-NUMFEDSTATESIDISTRICPCOURTIXSD Page 2 of 2

SOUTHERN DISTRICT OF TEXAS
McALLEN, TEXAS

ATTACHMENT TO CRIMINAL COMPLAINT:

| M-19-209H -M

RE: Francisco Ramirez

CONTINUATION:

Moments later the camera operator observed a subject walked from the rear of the residence the last
location where the subjects were seen, to the front of the residence and started scouting for law
enforcement. Responding Border Patrol Agents encountered and made contact with the subject who
was later identified as Francisco Ramirez, a United States Citizen, in the front yard of the residence
where the camera operator last had visual of the group.

When encountered Ramirez was not wearing a shirt, his pants were dirty and wet on the bottom, those
are typical indicators of someone who just crossed the river. Ramirez appeared nervous and told agents

‘that he observed several subjects running towards a two story house located in Olvera Street, one street
West from the last location where the suspected illegal alien were last seen.

Agents proceeded to the residence and made contact with a male subject from the residence. Agents
informed the male subject that they suspect aliens entered his residence. The subject gave consent to
enter and search the residence, once inside the residence agents discovered four subjects. An
immigration inspection was conducted and all four subjects freely admitted to being illegally present
in the United States. :

Agents placed the four subjects under arrest along with Francisco Ramirez and transported them to the
Rio Grande City Border Patrol Station to be processed accordingly.

PRINCIPAL STATEMENT:
Francisco Ramirez was read his Miranda Rights. He understood and agreed to provide a sworn
statement.

Ramirez, a citizen of the United States stated he was with his friend B, a juvenile, in Roma, Texas
scouting for a group of illegal aliens that was going to cross the Rio Grande River. Ramirez stated that
B was on the phone with a contact and that when the aliens ran up B led them inside of the house.
Ramirez stated that he would be paid $50.00 for each alien that was successfully smuggled into the
United States. Ramirez claims he had no contact with the illegal aliens. Ramirez further stated that he
assisted in the smuggling of several groups last year and once this year.

MATERIAL WITNESS STATEMENT:
Oscar Gilberto Ramirez-Melendez was read his Miranda Rights. Ramirez understood and agreed to
provide a sworn statement.

Ramirez-Melendez, a citizen of El Salvador, stated that his mother paid $8,000 for him to be smuggled
into the United States and that she made all the smuggling arrangements. Ramirez claims he crossed
the river on September 22, 2019 at around 4:00 am with three other subjects and three smugglers.
Ramirez claimed one of the smugglers told him to walk north towards a cellphone light that was
visible. He and the three subjects walked through the brush for about five minutes. After walking he
saw a man by himself with a cellphone which is the light that they saw. He claims the man told them
to get into a car, then told them to get out and go inside a house through the back. Once inside the
house he was told to be quiet and was led to a room. Ramirez stated that the male with the light that
told them to get into the car and the house was the same one arrested by Border Patrol Agents later
identified as Francisco Ramirez.

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